      Case 5:10-cv-06815-JKG Document 90 Filed 03/30/12 Page 1 of 56



                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ERNESTO GALARZA                    )
                                   )       Civil Action
                  Plaintiff        )       No. 10-cv-06815
                                   )
          vs.                      )
                                   )
MARK SZALCZYK,                     )
GREG MARINO, and                   )
CHRISTIE CORREA, in their          )
  individual capacities, and       )
CITY OF ALLENTOWN, and             )
LEHIGH COUNTY,                     )
                                   )
                  Defendants       )

                               *       *       *
APPEARANCES:

     VALERIE A. BURCH, ESQUIRE
     JONATHAN H. FEINBERG, ESQUIRE
     MARY CATHERINE ROPER, ESQUIRE, and
     SEEMA SAIFEE, ESQUIRE
          On behalf of Plaintiff


     TONY WEST, ESQUIRE
               Assistant Attorney General
     COLIN A. KISOR, ESQUIRE
               Senior Litigation Counsel, and
     KIRSTEN A. DAUBLER, ESQUIRE
               Trial Attorney
          On behalf of Defendants
          Mark Szalczyk and Greg Marino

     ANDREW B. ADAIR, ESQUIRE
          On behalf of Defendants
          Christie Correa, and
          City of Allentown, and

     THOMAS M. CAFFREY, ESQUIRE
          On behalf of Defendant
          Lehigh County

                               *       *       *
      Case 5:10-cv-06815-JKG Document 90 Filed 03/30/12 Page 2 of 56



                             O P I N I O N

JAMES KNOLL GARDNER
United States District Judge

          This matter is before the court on four motions which

seek to dismiss plaintiff’s Amended Complaint:

          (1)   Defendant Mark Szalczyk’s Motion to Dismiss the
                Amended Complaint, which motion was filed May 20,
                2011 (Document 55);

          (2)   Defendant Gregory Marino’s Motion to Dismiss the
                Amended Complaint, which motion was filed June 17,
                2011 (Document 62);

          (3)   Defendants, City of Allentown and Christie
                Correa’s Motion to Dismiss Plaintiff’s Amended
                Complaint Pursuant to Fed.R.Civ.P. 12(b)(6), which
                motion was filed April 25, 2011 (Document 51); and

          (4)   Defendant Lehigh County’s Motion to Dismiss the
                First Amended Complaint Under F.R.C.P. 12(b)(6),
                which motion was filed April 25, 2011
                (Document 50).

          Plaintiff filed a separate memorandum in opposition to

each motion to dismiss.     Defendant Szalczyk filed a reply brief

in support of his motion.     The motions having been fully briefed

and oral argument having been held before me on December 15,

2011, the matter is ripe for disposition.        Hence this Opinion.

                             INTRODUCTION

          Paragraph 1 of the Amended Complaint filed April 6,

2011 provides the following “Preliminary Statement” of the case:

                Plaintiff Ernesto Galarza is a United States
                Citizen who was born in New Jersey. Local and
                federal officials nonetheless collaborated to
                imprison him at the Lehigh County Prison for three
                days based on the groundless belief that he might

                                   -2-
             Case 5:10-cv-06815-JKG Document 90 Filed 03/30/12 Page 3 of 56



                       be an undocumented and deportable “alien.”
                       Plaintiff brings this action under the Fourth,
                       Fifth and Fourteenth Amendments to the United
                       States Constitution, 42 U.S.C. § 1983 and the
                       authority of Bivens v. Six Unknown Named Agents of
                       Federal Bureau of Narcotics, 403 U.S. 388 (1971).

                 Indeed, Attorney Jonathan H. Feinberg, the first of

three counsel for plaintiff to address the court during oral

argument on these motions to dismiss, sounded a note similar to

the Preliminary Statement when he said:

                       I think there is a substantial risk in this case
                       where we have a lot of defendants and a lot of
                       discrete legal issues, of losing the forest for
                       the trees. And the fact is, this case is quite
                       straightforward.

                       Ernesto Galarza is a United States citizen. As a
                       result of the actions of these defendants, he was
                       held on an immigration detainer.

                       That is wrong. It violated his constitutional
                       rights. And that’s the reason we’re here. And we
                       can get lost in these legal issues, and I would
                       suggest to the Court, though, the issue is really
                       quite simple.1

                 Defendants do not dispute that Mr. Galarza is a United

States citizen or that a jury subsequently acquitted him of the

charge on which he was arrested November 20, 2008,2 which arrest



         1
                 Transcript of Hearing held December 15, 2011 (“N.T.”), at pages
27-28.

         2
            On Thursday, November 20, 2008, Juan Santilme allegedly sold
cocaine to defendant Christie Correa, an Allentown, Pennsylvania police
officer who was working in an undercover capacity. On that date, plaintiff
Galarza was charged with, and arrested for, conspiring with Santilme and two
other arrestees, Joel Cruz and Luis Aponte-Maldonado, to deliver cocaine in
violation of Pennsylvania law. On April 26, 2010 a jury acquitted plaintiff
Galarza of the crime for which he had been arrested on November 20, 2008.
(Amended Complaint at ¶¶ 28-31, 86.)

                                          -3-
      Case 5:10-cv-06815-JKG Document 90 Filed 03/30/12 Page 4 of 56



set the events in motion which led to this federal civil rights

action.   It is not difficult to contemplate why Mr. Galarza feels

aggrieved by the events of November 20 through 24, 2008, or how

his subsequent acquittal would have magnified those feelings.

            However, the question presently before the court is not

whether Mr. Galarza’s feelings are reasonable or unreasonable, or

whether it is “wrong”, in a guttural sense, that a United States

citizen was held in a county prison on an immigration detainer

after he had posted bail and was otherwise entitled to be

released.

            The question presently before the court is whether or

not plaintiff has plead sufficient facts in his Amended Complaint

to establish a plausible entitlement to relief from the claims

which he asserts.

                         SUMMARY OF DECISION

            For the following reasons, I grant in part and deny in

part the motion to dismiss filed by defendant Mark Szalczyk.

Specifically, I grant defendant Szalczyk’s motion and dismiss the

procedural due process claim against him based upon qualified

immunity.   However, I deny defendant Szalzcyk’s motion to dismiss

plaintiff’s Fourth Amendment and equal protection claims because

plaintiff has sufficiently pled those claims and defendant

Szalczyk is not entitled to qualified immunity on those claims

based upon the facts alleged in the Amended Complaint.


                                   -4-
      Case 5:10-cv-06815-JKG Document 90 Filed 03/30/12 Page 5 of 56



          I grant, in its entirety, the motion to dismiss filed

by defendant Greg Marino and dismiss all claims against defendant

Marino because he is entitled to qualified immunity based upon

the facts alleged in the Amended Complaint.

          I grant in part and deny in part the motion to dismiss

filed by defendant Christie Correa and defendant City of

Allentown.   I grant the motion and dismiss all claims against the

City because plaintiff has not sufficiently stated a claim based

upon an unconstitutional policy or custom, or a failure to train

its police officers.

          I grant the motion to dismiss to the extent it seeks to

dismiss the procedural due process claim against defendant Correa

because plaintiff does not oppose dismissal of the due process

claim against defendant Correa.      I deny the motion to the extent

it seeks to dismiss plaintiff’s Fourth Amendment and equal

protection claims against defendant Christie Correa because

plaintiff has sufficiently pled those claims and defendant Correa

is not entitled to qualified immunity on those claims based upon

the facts alleged in the Amended Complaint.

          Finally, I grant, in its entirety, the motion to

dismiss filed by defendant Lehigh County and dismiss all claims

against Lehigh County because the policy for which plaintiff

seeks to hold Lehigh County liable is nondiscriminatory, as well

as mandated by federal regulations.


                                   -5-
      Case 5:10-cv-06815-JKG Document 90 Filed 03/30/12 Page 6 of 56



                             JURISDICTION

          Jurisdiction in this case is based upon federal

question jurisdiction pursuant to 28 U.S.C. § 1331.

                                  VENUE

          Venue is proper pursuant to 28 U.S.C. § 1391(b)(2)

because the events giving rise to plaintiff’s claims allegedly

occurred in the Allentown, Lehigh County, Pennsylvania, which is

within this judicial district.

                          PROCEDURAL HISTORY

          Plaintiff initiated this civil rights action by filing

a Complaint (Document 1) on November 19, 2010.         Plaintiff’s

initial Complaint named Mark Szalczyk, Stephanie Fritzges, “ICE

Does 1-5", “Allentown Does 6-10", and “Lehigh County Does 11-15",

the City of Allentown, and Lehigh County as defendants.

          On January 26, 2011 plaintiff filed a Motion for Leave

to Conduct Limited Expedited Doe Discovery (Document 19).

          Upon motion by the plaintiff which was granted by my

Order dated March 14, 2011 and filed March 15, 2011

(Document 32), Stephanie Fritzges was dismissed as a defendant in

this action.

          Plaintiff’s motion for leave to conduct limited

expedited discovery was granted by Order and accompanying

Memorandum of United States Magistrate Judge Henry S. Perkin

dated March 21, 2011 (Documents 39 and 38, respectively).


                                   -6-
      Case 5:10-cv-06815-JKG Document 90 Filed 03/30/12 Page 7 of 56



          On March 21, 2011 plaintiff filed a Motion for Leave to

File First Amended Complaint to Add Parties and Allegations

Resulting from Doe Discovery (Document 35).

          By Order dated April 5 and filed April 6, 2011

(Document 45), I granted as unopposed plaintiff’s motion for

leave to file an amended complaint and gave plaintiff until

April 25, 2011 to do so.

          Plaintiff filed his First Amended Complaint on April 6,

2011 (Document 46)(“Amended Complaint”).        The Amended Complaint

named Mark Szalczyk, Greg Marino, and Christie Correa, in their

individual capacities, and the City of Allentown, and Lehigh

County as defendants.    Plaintiff did not name any Doe defendants

in his Amended Complaint.     Each of the named defendants now seek

to dismiss plaintiff’s Amended Complaint.

          Oral argument was held before me on December 15, 2011

on each of the four defense motions to dismiss.         At the

conclusion of oral argument I took the matter under advisement.

Hence this Opinion.

                          STANDARD OF REVIEW

          A claim may be dismissed under Federal Rule of Civil

Procedure 12(b)(6) for "failure to state a claim upon which

relief can be granted."     Fed.R.Civ.P. 12(b)(6).      A Rule 12(b)(6)

motion requires the court to examine the sufficiency of the

complaint.   Conley v. Gibson, 355 U.S. 41, 45, 78 S.Ct. 99, 102,


                                   -7-
       Case 5:10-cv-06815-JKG Document 90 Filed 03/30/12 Page 8 of 56



2 L.Ed.2d 80, 84 (1957) (abrogated in other respects by

Bell Atlantic Corporation v. Twombly, 550 U.S. 544,

127 S.Ct. 1955, 167 L.Ed.2d 929 (2007)).

            Generally, in ruling on a motion to dismiss, the court

relies on the complaint, attached exhibits, and matters of public

record, including other judicial proceedings.           Sands v.

McCormick, 502 F.3d 263, 268 (3d Cir. 2008).

            Except as provided in Federal Rule of Civil

Procedure 9, a complaint is sufficient if it complies with

Rule 8(a)(2), which requires "a short and plain statement of the

claim showing that the pleader is entitled to relief."

Fed.R.Civ.P. 8(a)(2).      Rule 8(a)(2) “[does] not require

heightened fact pleading of specifics, but only enough facts to

state a claim to relief that is plausible on its face.”             Twombly,

550 U.S. at 570, 127 S.Ct. at 1974, 167 L.Ed.2d at 949.3

            In determining whether a plaintiff’s complaint is

sufficient, the court must “accept all factual allegations as



      3
            The Opinion of the United States Supreme Court in Ashcroft v.
Iqbal, 556 U.S. 662,    , 129 S.Ct. 1937, 1953, 173 L.Ed.2d 868, 887 (2009),
states clearly that the “facial plausibility” pleading standard set forth in
Twombly applies to all civil suits in the federal courts. Fowler v. UPMC
Shadyside, 578 F.3d 203, 210 (3d Cir. 2009).

            This showing of facial plausibility then “allows the court to draw
the reasonable inference that the defendant is liable for the misconduct
alleged,” and that the plaintiff is entitled to relief. Fowler, 578 F.3d at
210 (quoting Iqbal, 556 U.S. at    , 129 S.Ct. at 1949, 173 L.Ed.2d at 884).

            As the Supreme Court explained in Iqbal, “[t]he plausibility
standard is not akin to a ‘probability requirement,’ but it asks for more than
a sheer possibility that the defendant acted unlawfully.” Iqbal, 556 U.S.
at    , 129 S.Ct. at 1949, 173 L.Ed.2d at 884.

                                     -8-
      Case 5:10-cv-06815-JKG Document 90 Filed 03/30/12 Page 9 of 56



true, construe the complaint in the light most favorable to the

plaintiff, and determine whether, under any reasonable reading,

the plaintiff may be entitled to relief.”        Fowler, 578 F.3d

at 210 (quoting Phillips v. County of Allegheny, 515 F.3d 224,

233 (3d Cir. 2008)).

          Although “conclusory or ‘bare-bones’ allegations will

[not] survive a motion to dismiss,” Fowler, 578 F.3d at 210, “a

complaint may not be dismissed merely because it appears unlikely

that the plaintiff can prove those facts or will ultimately

prevail on the merits.”     Phillips, 515 F.3d at 231.       Nonetheless,

to survive a 12(b)(6) motion, the complaint must provide “enough

facts to raise a reasonable expectation that discovery will

reveal evidence of the necessary element[s].”         Id. (quoting

Twombly, 550 U.S. at 556, 127 S.Ct. at 1965, 167 L.Ed.2d at 940)

(internal quotation omitted).

          The court is required to conduct a two-part analysis

when considering a Rule 12(b)(6) motion.        First, the factual

matters averred in the complaint, and any attached exhibits,

should be separated from legal conclusions asserted therein.

Fowler, 578 F.3d at 210.     Any facts pled must be taken as true,

and any legal conclusions asserted may be disregarded.          Id.

at 210-211.

          Second, the court must determine whether those factual

matters averred are sufficient to show that the plaintiff has a


                                   -9-
     Case 5:10-cv-06815-JKG Document 90 Filed 03/30/12 Page 10 of 56



“plausible claim for relief.”     Id. at 211 (quoting Iqbal,

556 U.S. at __, 129 S.Ct. at 1950, 178 L.Ed.2d at 884).

          Ultimately, this two-part analysis is “context-

specific” and requires the court to draw on “its judicial

experience and common sense” to determine if the facts pled in

the complaint have “nudged [plaintiff’s] claims” over the line

from “[merely] conceivable [or possible] to plausible.”          Iqbal,

556 U.S. at __, 129 S.Ct. at 1950-1951, 178 L.Ed.2d at 884-885

(internal quotations omitted).

          A well-pleaded complaint may not be dismissed simply

because “it strikes a savvy judge that actual proof of those

facts is improbable, and that a recovery is very remote and

unlikely.”   Twombly, 550 U.S. at 556, 127 S.Ct. at 1965,

167 L.Ed.2d at 940-941.

                                 FACTS

          Based upon the averments in plaintiff’s Amended

Complaint, which I must accept as true under the foregoing

standard of review, the pertinent facts are as follows.

                                Parties

          Plaintiff Ernesto Galarza is a 36-year-old male who

resides in Allentown, Lehigh County, Pennsylvania and resided

here at all times relevant to this action.       He was born in Perth




                                  -10-
         Case 5:10-cv-06815-JKG Document 90 Filed 03/30/12 Page 11 of 56



Amboy, New Jersey.          Mr. Galarza is Hispanic, specifically of

Puerto Rican heritage.          He speaks English and Spanish.4

              At the time of these events, defendant Mark Szalcyzk

(“Officer Szalczyk”) was a Deportation Officer employed by United

States Immigration and Customs Enforcement, United States

Department of Homeland Security (“ICE”).5           Defendant Greg Marino

(“Officer Marino”) was employed by ICE in its Allentown,

Pennsylvania office.6          In this lawsuit, Officers Szalczyk and

Marino are both being sued in their individual capacities.7                At

all relevant times, Officers Szalczyk and Marino were acting

within the scope of their employment with ICE, a federal

executive agency.8

              Defendant City of Allentown (“City” or “Allentown”) is

a political subdivision of the Commonwealth of Pennsylvania and

operates the Allentown Police Department (“APD”).9            Defendant

Christie Correa (“Detective Correa”) was at all relevant times a

narcotics investigator with APD.          She is also being sued in her




     4
              Amended Complaint at ¶¶ 4, 24-27.

     5
              Id. at ¶ 5.

     6
              Id. at ¶ 6.

     7
              Id. at ¶¶ 5-6.

     8
              Id. at ¶ 7.

     9
              Id. at ¶ 8.

                                      -11-
      Case 5:10-cv-06815-JKG Document 90 Filed 03/30/12 Page 12 of 56



individual capacity.10    At all relevant times, Detective Correa

was acting in the scope of her employment with the APD.11

           Defendant Lehigh County is a political subdivision of

the Commonwealth of Pennsylvania.         Lehigh County operates the

Lehigh County Prison.

               Collaborative Efforts of ICE and the APD

           The APD and ICE cooperate to identify and imprison

persons suspected of being “aliens” subject to deportation.12           As

part of this cooperation, APD officers actively work with ICE to

identify aliens who have committed criminal offenses within the

City and take appropriate steps for deportation where

warranted.13

           As part of this collaboration, the APD conducts

“periodic operations”, which the police also term “round ups”, to

apprehend undocumented immigrants who have committed crimes.

These operations resulted in the apprehension of 120 people in

2006.14   Detective Correa, and Officers Szalczyk and Marino

participated in the collaborative efforts between APD and ICE.15



     10
           Amended Complaint at ¶ 9.

     11
           Id. at ¶ 10.

     12
           Id. at ¶12.

     13
           Id. at ¶ 13.

     14
           Id. at ¶ 14.

     15
           Id. at ¶ 21.

                                   -12-
      Case 5:10-cv-06815-JKG Document 90 Filed 03/30/12 Page 13 of 56



           Until March 2007, ICE maintained an office within the

APD where an ICE special agent reviewed APD arrest reports and

sought to identify arrestees subject to deportation.16

           In November 2008, when plaintiff was arrested and

detained, ICE no longer had an agent posted within the APD.

However, ICE and APD employees continued to collaborate from

their separate offices in Allentown.17       APD personnel regularly

communicate with ICE personnel regarding arrestees suspected of

being aliens subject to deportation.18

           The City has never provided training to APD officers or

arranged for them to receive training regarding (1) how to

investigate a person’s immigration status; (2) when to provide

arrestees’ information to ICE; or (3) what arrestee information

should be provided to ICE.19      The City knowingly allowed APD

officers to make reports to ICE on the basis of an arrestee’s

ethnicity.20

           Many individuals arrested by the APD are jailed at the

Lehigh County Prison in Allentown.        ICE officials have issued,

and then cancelled, “many” immigration detainers against inmates



     16
           Amended Complaint at ¶ 15.

     17
           Id. at ¶ 19.

     18
           Id. at ¶ 18.

     19
           Id. at ¶ 19.

     20
           Id. at ¶ 20.

                                   -13-
       Case 5:10-cv-06815-JKG Document 90 Filed 03/30/12 Page 14 of 56



housed at the Lehigh County Prison and at other nearby county

prisons and jails.21

            On November 6, 2008 James T. Hayes, then-Director of

Detention and Removal Operations for ICE, issued a memorandum to

ICE Field Office Directors cautioning that ICE officers must have

probable cause to believe that a person is an alien subject to

removal from the United States before making an arrest of the

suspected removable alien.22

                  Arrest and Detention of Mr. Galarza

            On Thursday, November 20, 2008, Mr. Galarza was working

construction on a house near 6th and Monroe Streets in Allentown.

The contractor directing the work, Juan Santilme, was also

selling cocaine from the job site.         On that date Mr. Santilme

sold cocaine to defendant, Allentown Police Detective Christie

Correa, who was working under cover.23




      21
             Amended Complaint at ¶ 22. Plaintiff does not allege that
Detective Correa or the City knew, or was aware, that ICE had issued and then
cancelled “many” immigration detainers, or that such cancelled immigration
detainers were based upon information provided by APD officers. However,
based upon the alleged active cooperation between the APD and ICE --
illustrated by the alleged actions of Detective Correa and Officer Szalczyk --
it is reasonable to infer that APD and the City were aware that ICE had issued
and then cancelled many immigration detainers for persons held in the Lehigh
County Prison and at other local prison facilities. Accordingly, it is
reasonable to infer that the City and the APD were aware that faulty or
misleading reports or information provided by APD officers might result in the
issuance of an immigration detainer based on that faulty or misleading
information.

      22
            Id. at ¶ 23.

      23
            Id. at ¶¶ 28 and 29.

                                    -14-
      Case 5:10-cv-06815-JKG Document 90 Filed 03/30/12 Page 15 of 56



           After Mr. Santilme made the sale to Detective Correa,

at approximately 2:30 p.m. on November 20, 2008, police arrived

at the job site and arrested Mr. Santilme as well as Juan Cruz,

Luis Aponte-Maldonado, and plaintiff Galarza.24        Plaintiff was

charged with conspiring with Mr. Santilme and the other two

arrestees to deliver cocaine in violation of Pennsylvania law.25

           All four arrestees are Hispanic.       Mr. Santilme and

Mr. Aponte-Maldonado are citizens of the Dominican Republic.

Mr. Cruz is a citizen of Honduras.26        However, at the time of

his arrest Mr. Aponte-Maldonado told Detective Correa that he was

a United States citizen from Puerto Rico.27        All four arrestees

were taken to the APD where Mr. Galarza was held in a cell

separate from the other three arrestees.28

           A Criminal Complaint against Mr. Galarza was drafted

and verified by Detective Correa.29       The Criminal Complaint which

was sworn out by Detective Correa after the arrest accurately

listed Mr. Galarza’s place of birth (Perth Amboy, New Jersey),

his date of birth (September 20, 1974), his ethnicity (Hispanic),



     24
           Amended Complaint at ¶¶ 30 and 31.

     25
           Id. at ¶ 31.

     26
           Id. at ¶ 35.

     27
           Id. at ¶ 34.

     28
           Id. at ¶ 36.

     29
           Id. at ¶ 37.

                                   -15-
       Case 5:10-cv-06815-JKG Document 90 Filed 03/30/12 Page 16 of 56



and his Social Security Number.30        At the time of his arrest,

Mr. Galarza was carrying his wallet, which contained his

Pennsylvania driver’s license, his debit card, his health

insurance card, and his social security card.31          Mr. Galarza’s

United States citizenship could have been verified using this

information.32

            At approximately 8:00 p.m. on Thursday, November 20,

2011, Mr. Galarza was transported from the APD to the Lehigh

County Prison.     At approximately 10:15 p.m. that evening,

Mr. Galarza’s bail on the drug charge was set at $15,000.33

            In the early morning hours of Friday, November 21,

2008, Mr. Galarza underwent the Lehigh County Prison admissions

process.    During the admission process, Mr. Galarza again gave

Perth Amboy, New Jersey as his place of birth.           Because he gave a

place of birth inside the United States, the prison official

conducting the intake did not fill out and forward a form to ICE,

as is customary when a prisoner lists a foreign place of birth


      30
            Amended Complaint at ¶ 37.

      31
            Id. at ¶ 39.

      32
            Id. at ¶ 38. It is reasonable to infer that someone, particularly
a police detective or immigration officer, armed with an individual’s
purported place of birth, date of birth, driver’s license, and social security
number would be capable of verifying that the individual is who he says he is
and was born where he says he was born (which in this case would prove
plaintiff’s natural-born United States citizenship). However, what is not
alleged in the Amended Complaint, and what I cannot infer, is how long it
would take for a detective or immigration official to complete such a
verification.

      33
            Id. at ¶¶ 41-42.

                                    -16-
       Case 5:10-cv-06815-JKG Document 90 Filed 03/30/12 Page 17 of 56



during admission to Lehigh County Prison.34          Lehigh County Prison

officials stored Mr. Galarza’s wallet after processing his

admission.35

            Sometime during Thursday evening, November 20, 2008,

Detective Correa contacted ICE to convey information regarding

her arrest of Mr. Galarza and the other three individuals at the

6th and Monroe Street house earlier that day.36

            Detective Correa told the ICE officer with whom she

spoke -- either ICE Deportation Officer Szalczyk or Officer

Marino37 -- that she had arrested four individuals -- including

Mr. Galaraz -- on drug charges earlier that afternoon.             She

stated to the ICE officer that she believed that all four men had

given false information about their identities or were foreign

nationals.38   Detective Correa gave the ICE officer the

information contained on each arrestee’s booking sheet, including




      34
            Amended Complaint at 43-45.

      35
            Id. at ¶ 47.

      36
            Id. at ¶ 48.

      37
            The Amended Complaint contains alternative allegations regarding
who Detective Correa spoke with when she called ICE to provide information
concerning the arrests she made. Mr. Galarza avers either: (a) that Detective
Correa spoke directly to Officer Szalczyk who then issued the detainer; or
(b) that Detective Correa spoke to Officer Marino, that Officer Marino relayed
Detective Correa’s information to Officer Szalczyk without investigating or
verifying that information, and that Officer Szalczyk then issued the
immigration detainer. (See Amended Complaint at ¶¶ 48, 51, and 54-56.)

      38
            See id. at ¶ 48 and 51

                                     -17-
      Case 5:10-cv-06815-JKG Document 90 Filed 03/30/12 Page 18 of 56



name, date of birth, place of birth, ethnicity, and social

security number, if given by the arrestee.39

           Detective Correa gave Mr. Galarza’s identification

information to the ICE officer because Mr. Galarza was Hispanic

and was arrested in the company of three other Hispanic men who

did not appear to be United States citizens.40         Detective Correa

does not report Caucasian individuals to ICE when those

individuals are arrested with others suspected of being aliens

subject to deportation.41

           On Friday, November 21, 2008, after receiving the

information provided by Detective Correa, Officer Szalczyk

prepared an Immigration Detainer-Notice of Action (Form I-274)

and faxed the immigration detainer to Lehigh County Prison.42

Officer Szalczyk did not seek to verify if the social security

number provided by Mr. Galarza was valid.43         The immigration

detainer identified Mr. Galarza as an alien and his nationality

as “Dominican Republic”.44

           Officer Szalczyk decided to issue the immigration


     39
           See Amended Complaint at ¶¶ 37, 48 and 50-51.

     40
           Id. at ¶ 52.

     41
           Id. at ¶ 53.

      42
            Id. at ¶¶ 59-60. A copy of the immigration detainer is contained
in Exhibit B of the Amended Complaint.

     43
           Id. at ¶ 58.

     44
           Id. at ¶ 62; id., Exhibit B.

                                    -18-
        Case 5:10-cv-06815-JKG Document 90 Filed 03/30/12 Page 19 of 56



detainer for Mr. Galarza either based on the information provided

by Detective Correa (directly or through Officer Marino),

or because plaintiff had a Hispanic name and was arrested in the

company of three other Hispanic men who did not appear to be

United States citizens.45

             If Officer Szalczyk had known or believed that Mr.

Galarza was Caucasian, rather than Hispanic, he would not have

issued the immigration detainer without first seeking to verify

the available identifying information in an effort to confirm

that Mr. Galarza was actually an alien subject to deportation and

not a United States citizen.46

             Later on Friday, November 21, 2008, after Officer

Szalczyk had issued the immigration detainer regarding

Mr. Galarza, a surety company posted Mr. Galarza’s bail.             A

Lehigh County Prison officer told plaintiff Galarza that his bail

had been posted and that plaintiff should prepare to leave Lehigh

County Prison shortly.47

             Shortly thereafter, however, the same prison officer

told plaintiff that a detainer was preventing his release on

bail.     Plaintiff protested to the prison officer, but the officer

told plaintiff that he would have to wait until Monday,



     45
             Id. at ¶ 58.

     46
             Id. at ¶ 63.

     47
             Amended Complaint at ¶¶ 67-68.

                                     -19-
      Case 5:10-cv-06815-JKG Document 90 Filed 03/30/12 Page 20 of 56



November 24, 2008 to speak with a Lehigh County Prison counselor

about the detainer.48     Plaintiff was not informed of the basis

for the detainer or that it concerned his citizenship or

immigration status until Monday, November 24, 2008.49

           But for the issuance of the immigration detainer lodged

against plaintiff, the Lehigh County Prison would have released

him on Friday, November 21, 2008 after his bail was posted.

Plaintiff was neither interviewed by any ICE officer nor given

notice of the immigration detainer before the detainer was issued

by Officer Szalczyk.50

           Plaintiff was detained at Lehigh County Prison over the

weekend, and he did not learn that he was being held on an

immigration detainer until he was at breakfast in the prison on

Monday, November 24, 2008.      At that time, he was informed by a

prison counselor that the detainer concerned his immigration

status.   Plaintiff protested the immigration detainer to the

counselor and asked the counselor to check the identification

information in plaintiff’s wallet, which was stored at the

prison.   The prison counselor declined to do so.51




     48
           Amended Complaint at ¶¶ 69-70.

     49
           Id. at ¶ 73.

     50
           Id. at ¶¶ 71-72.

     51
           Id. at ¶¶ 74-77.

                                   -20-
       Case 5:10-cv-06815-JKG Document 90 Filed 03/30/12 Page 21 of 56



            Shortly thereafter, two ICE officers met with, and

interviewed, Mr. Galarza.       Plaintiff was questioned by the ICE

officers and again provided his date of birth and social security

number.    The ICE officers left and when they returned, they

informed plaintiff that the detainer was being lifted.52

            On Monday, November 24, 2008 at 2:05 o’clock p.m.

Mr. Galarza’s immigration detainer was lifted, and he was

released from the Lehigh County Prison at 8:28 o’clock p.m. on

that evening.53

            Because of his imprisonment, Mr. Galarza lost a part-

time job, lost wages from both his part-time and full-time job,

and suffered both emotional distress and physical problems.54

                                 DISCUSSION

                               Officer Marino

            Plaintiff names Officer Marino in each of Counts I

through VII of the Amended Complaint.         Despite the number of

claims asserted against Officer Marino, the factual averments

concerning any action actually taken by Officer Marino are

sparse.


      52
            Amended Complaint at ¶¶ 78-81. The fact that plaintiff appears to
have provided the same information to the ICE officers with whom he spoke on
Monday morning as was available to Detective Correa and Officer Szalczyk on
the previous Thursday and Friday further supports a reasonable inference that
plaintiff’s United States citizenship could have been verified either before
Mr. Galarza was reported to ICE or before the immigration detainer was issued.

      53
            Id. at ¶¶ 82-83.

      54
            Id. at ¶ 85.

                                    -21-
      Case 5:10-cv-06815-JKG Document 90 Filed 03/30/12 Page 22 of 56



           Indeed, the only factual allegations in the Amended

Complaint which concern Officer Marino appear in paragraphs 54

and 55.   Because plaintiff is unaware of whether Detective Correa

spoke directly to Officer Szalczyk when she called ICE to report

plaintiff and his co-arrestees, or whether she spoke to Officer

Marino, plaintiff avers in the alternative that

                 [Officer] Marino gave [Officer] Szalczyk the
                 information from [Detective] Correa, including the
                 statement...that Plaintiff lied about his iden-
                 tity, [and that] [b]efore [Officer] Marino gave
                 [Officer] Szalczyk this information, [Officer
                 Marino] conducted no investigation of other
                 reasonably available information that
                 would have confirmed Plaintiff’s identify and the
                 fact that Plaintiff is a [United States]
                 citizen.55

                Qualified Immunity -- Officer Marino

           Because qualified immunity is not merely a defense to

liability but an immunity from suit, it is a proper basis for a

motion to dismiss under Rule 12(b)(6).        Thomas v. Independence

Township, 463 F.3d 285, 291 (3d Cir. 2006).         However, “[a]

decision as to qualified immunity is premature when there are

unresolved disputes of historical facts relevant to the immunity

analysis.”   Phillips v. County of Allegheny, 515 F.3d 224, 242

n.7 (3d Cir. 2008) (citing Curley v. Klem, 499 F.3d 199 (3d Cir.

2007))(internal punctuation omitted).




     55
           Amended Complaint at ¶¶ 54-55.

                                   -22-
     Case 5:10-cv-06815-JKG Document 90 Filed 03/30/12 Page 23 of 56



          Here, the Amended Complaint displays an internal

dispute of historical fact as to whether Officer Marino passed

the message from Detective Correa along to Officer Szalczyk, or

whether Detective Correa Spoke directly to Officer Szalczyk.

However, regardless of which version of the facts, as pled, is

accepted as true, Officer Marino is entitled to qualified

immunity because no reasonable officer would have believed

Officer Marino’s conduct to be unlawful.

          If the latter scenario is accurate, then the Amended

Complaint avers no actions taken by Officer Marino whatsoever, he

thus cannot be liable under Bivens v. Six Unknown Named Agents of

Federal Bureau of Narcotics, 403 U.S. 388, 389, 91 S.Ct. 1999,

2001, 29 L.Ed.2d 619, 622 (1972), and he is properly dismissed

from this action.   If the former scenario is accurate and Officer

Marino did relay the information provided by Detective Correa to

Officer Szalczyk, then I conclude that he is entitled to

qualified immunity and, thus, is properly dismissed from this

action.

          To overcome an assertion of qualified immunity, a

plaintiff must satisfy a two-prong test.       The court must “decide

whether the facts [pled], taken in the light most favorable to

the plaintiff, demonstrate a constitutional violation” and

“whether the constitutional right in question was clearly

established.”   Couden v. Duffy, 446 F.3d 483, 492 (3d Cir. 2006).


                                  -23-
     Case 5:10-cv-06815-JKG Document 90 Filed 03/30/12 Page 24 of 56



          Courts are no longer required to decide the first prong

of this test before moving on to the second prong.         Pearson v.

Callahan, 555 U.S. 223, 236, 129 S.Ct. 808, 818, 172 L.Ed.2d 565,

576 (2009).

          The test for whether a constitutional right is clearly

established is “whether it would be clear to a reasonable officer

that his conduct was unlawful in the situation he confronted.”

Couden, 446 F.3d at 492; Saucier v. Katz, 533 U.S. 194, 121 S.

Ct. 2151, 2156 , 150 L. Ed. 2d 272, 282 (2001).        If the officer’s

mistake as to what the law requires is reasonable, the officer is

entitled to qualified immunity.      Id.

          Here, I conclude that it would not have been clear to a

reasonable immigration officer that relaying information provided

by a city Detective about a group of individuals to an immi-

gration-officer colleague is an unlawful violation of the

constitutional rights of one of the individuals about whom the

immigration officer relayed information.       For that reason,

Officer Marino is entitled to qualified immunity if, as

alternatively alleged, he relayed information from Detective

Correa to Officer Szalczyk.     Accordingly, I grant Officer

Marino’s motion and dismiss all claims against him as a defendant

in this action.




                                  -24-
     Case 5:10-cv-06815-JKG Document 90 Filed 03/30/12 Page 25 of 56



    Fourth Amendment –- Detective Correa & Officer Szalczyk

          An arrest or custodial seizure without probable cause

is a Fourth Amendment violation actionable under § 1983 and

Bivens. See Walmsley v. Philadelphia, 872 F.2d 546 (3d Cir.1989)

(citing cases); Bivens, 403 U.S. at 389, 91 S.Ct. at 2001,

29 L.Ed.2d at 622.

          To state a Fourth Amendment claim for false arrest or

an unreasonable custodial seizure, a plaintiff must allege that:

(1) there was an arrest or custodial seizure; and (2) the arrest

or seizure was made without probable cause. Dowling v. City of

Philadelphia, 855 F.2d 136, 141 (3d Cir. 1988).

          Here, Mr. Galarza was seized by Detective Correa at the

time of his arrest and remained in custody from the time of his

arrest until the evening of Friday, November 21, 2008.          At that

time, a surety company posted Mr. Galarza’s $15,000 bail and,

thus, Mr. Galarza was entitled to be released on that bail.

However, because the immigration detainer had been issued and

faxed to Lehigh County Prison, Mr. Galarza was not released after

his bail was posted.    Instead, he was held in prison until

Monday, November 24, 2008.

          In the Amended Complaint, plaintiff alleges that his

detention at Lehigh County Prison pursuant to the immigration

detainer was an unreasonable seizure in violation of his rights

under the Fourth Amendment because no probable cause existed to


                                  -25-
       Case 5:10-cv-06815-JKG Document 90 Filed 03/30/12 Page 26 of 56



support the detainer.56      Specifically, plaintiff alleges that the

detainer was issued “without probable cause to believe that he

was an ‘alien’ subject to detention and removal.”57

                      Means Intentionally Applied

            Officer Szalczyk argues that he cannot be liable for

any unreasonable seizure of Mr. Galarza because the detainer did

not cause Mr. Galarza’s detention.58         Officer Szalczyk cites two

district court cases to support his assertion that the immigra-

tion detainer issued by him did not cause Mr. Galarza to be

seized.59   Both cases relied on by Officer Scalczyk are

significantly distinguishable from this case.

            Initially, in Keil v. Spinella, 2011 WL 43491, at *3

(W.D.Mo. January 6, 2011), ICE issued an immigration detainer for

Mr. Keil which was served upon the United States Marshal who was

then holding Mr. Keil.      However, ICE cancelled the detainer when

Mr. Keil was released on bond.        While in both this case and Keil,

ICE never took physical custody of the individual named in the



      56
            The Amended Complaint states that Mr. Galarza was charged with
“conspiring...to deliver cocaine in violation of Pennsylvania law” and that on
“April 12, 2010, a jury acquitted Plaintiff of the crime for which he had been
arrested on November 20, 2008.” (Amended Complaint at ¶¶ 31, 86.) Plaintiff
does not contend that his November 20, 2008 arrest was unsupported by probable
cause. Rather, the essence of his Fourth Amendment claim here is that no
probable cause existed to believe that he was an alien subject to removal or
deportation from the United States. (Amended Complaint at ¶ 88.)

      57
            Id. at ¶¶ 107, 126.

      58
            Szalczyk Memorandum at page 6.

      59
            Id. at pages 6-7 n.4.

                                    -26-
      Case 5:10-cv-06815-JKG Document 90 Filed 03/30/12 Page 27 of 56



detainer, here, unlike in Keil, Mr. Galarza was not released upon

posting bail.    Rather, the Amended Complaint alleges -- and

Officer Szalczyk acknowledges60 -- that Mr. Galarza’s detention

at Lehigh County Prison was extended because of the detainer

issued by Officer Szalczyk.

           Next, in Nasious v. Two Unknown B.I.C.E. Agents,

657 F.Supp.2d 1218, 1221 (D.Colo. 2009), an immigration detainer

was issued against John Nasious on August 3, 2005 (while he was

in state custody pending disposition on a five-count indictment).

A four-year term of imprisonment was imposed on November 10, 2005

after Mr. Nasious pled guilty to one count of Forgery-

Check/Commercial Instrument.       ICE lifted the immigration detainer

on April 24, 2006, while Mr. Nasious was still in custody

pursuant to his November 10, 2005 sentence.         657 F.Supp.2d

at 1221, 1224.    Like Keil, supra, and unlike Mr. Galarza’s case,

the confinement of Mr. Nasious was not extended in any way by the

issuance of the immigration detainer.

           Indeed, the district court in Nasious stated that

“[a]lmost all of the circuit courts considering the issue have

determined that the logding of an immigration detainer, without

more, is insufficient to render someone in custody.”          Nasious,

657 F.Supp.2d at 1229 (citing cases).




     60
           Szalczyk Memorandum at page 7 n.4.

                                   -27-
      Case 5:10-cv-06815-JKG Document 90 Filed 03/30/12 Page 28 of 56



           Here, the Amended Complaint alleges something more.

The Amended Complaint alleges that Mr. Galarza would have been

released on bail three days prior to his actual release but for

the immigration detainer issued by defendant Szalczyk.

Therefore, the immigration detainer caused a seizure of

Mr. Galarza.

           Detective Correa contends that she cannot be held

liable for an unreasonable seizure of Mr. Galarza because she did

not intend for ICE to issue an immigration detainer when she

called ICE and reported plaintiff and his co-arrestees.61

Detective Correa contends that “Plaintiff does not allege that

Detective Correa intended a detainer to be issued against him.”62

In her memorandum, Detective Correa contends that she “reported

Plaintiff’s identity to assist with the identification of three

foreign nationals, but ICE assumed that she reported all four as

suspected foreign nationals” and therefore, “Plaintiff’s

detention was an unintended consequence” of Detective Correa’s

telephone call.63

           Detective Correa’s argument here fails for two reasons.

First, her alleged facts conflict with the allegations in

paragraph 51 of the Amended Complaint, where plaintiff avers that



     61
           Memorandum of Allentown and Correa at page 7.

     62
           Id. at page 8.

     63
           Id. at page 8.

                                   -28-
       Case 5:10-cv-06815-JKG Document 90 Filed 03/30/12 Page 29 of 56



Detective Correa gave the ICE officer she spoke to “reason to

believe that she suspected all four arrestees of being foreign

nationals....”64    Thus, plaintiff alleges that Detective Correa

gave the ICE officer reason to believe she suspected Mr. Galarza

of being a foreign national.        Under the applicable standard of

review, discussed above, I must accept plaintiff’s alle-gation

for the purpose of these motions to dismiss.

            Second, Detectice Correa does not dispute that she

intentionally telephoned ICE and reported Mr. Galarza, along with

his co-arrestees.     Indeed, Detective Correa states that she does

not dispute that “§ 1983 liability for an unlawful arrest can

extend beyond the arresting officer to other officials whose

intentional actions set the arresting officer in motion.”65              As

plaintiff correctly notes, the United States Court of Appeals for

the Third Circuit has held that “§ 1983 anticipates that an

individual will be responsible for the natural consequences of

his actions.”     Berg v. County of Allegheny, 219 F.3d 261, 272 (3d

Cir. 2000).

            Detective Correa relies on a hypothetical example

provided by the Third Circuit in Berg, which the court offered as




      64
            Amended Complaint at ¶ 51 (emphasis added).

      65
            Memorandum of Allentown and Correa at page 8 (citing Berg,
219 F.3d at 272).

                                    -29-
      Case 5:10-cv-06815-JKG Document 90 Filed 03/30/12 Page 30 of 56



an illustration of means “intentionally applied”.66           The Third

Circuit stated that

           [f]or example, if a police officer fires his gun at a
           fleeing robbery suspect and the bullet inadvertently
           strikes an innocent bystander, there has been no Fourth
           Amendment seizure.... If, on the other hand, the
           officer fires his gun directly at the innocent
           bystander in the mistaken belief that the bystander is
           the robber, then a Fourth Amendment seizure has
           occurred.

Berg, 219 F.3d at 269.

           Detective Correa suggests that she is akin to the

former officer who intended to shoot the fleeing robbery suspect

but inadvertently shot the innocent bystander.          Plaintiff

contends that Detective Correa is akin to the latter officer who

aimed at and shot the innocent bystander based upon the mistaken

belief that the bytander was actually the robbery suspect.

           Here, taking the facts alleged in the Amended Complaint

as true and drawing all reasonable inferences in Mr. Galarza’s

favor, as I am required to do, he has the better of the

arguments.     The Amended Complaint alleges that after arresting

plaintiff and three others for conspiracy to distribute cocaine,

Detective Correa reported each of the four individuals --

including Mr. Galarza -- to the ICE officer with whom she spoke

and indicated that she believed all four to be foreign

nationals.67

     66
           Memorandum of Allentown and Correa at pages 7-8.

     67
           Amended Complaint at ¶¶ 48, 51.

                                   -30-
      Case 5:10-cv-06815-JKG Document 90 Filed 03/30/12 Page 31 of 56



           Taking those alleged facts as true, a reasonable

inference can be drawn that Detective Correa intended to report

Mr. Galarza to ICE as someone she believed to be a foreign

national and who had been arrested on a narcotics charge.            It is

also reasonable to infer that the issuance of an immigration

detainer against Mr. Galarza would be the natural consequence of

Detective Correa’s report to ICE, particularly in light of

alleged history of collaboration between the Allentown Police

Department and ICE.

           For these reasons, the arguments by Detective Correa

and Officer Szalczyk -- that their intentional action did not

cause the immigration detainer, which, in turn, caused Mr.

Galarza’s detention after his bail was posted and he was entitled

to be released -- fail.

                              Probable Cause

                 Plaintiff contends that neither Detective Correa

nor Officer Szalczyk had probable cause “to believe that

Mr. Galarza was an alien subject to removal and detention.”68

           Detective Correa has not directly addressed the issue

of whether or not probable cause existed to support the issuance

of an immigration detainer against Mr. Galarza.69




     68
           N.T. at page 36.

     69
           See Memorandum of City of Allentown and Correa at pages 6-12.

                                   -31-
     Case 5:10-cv-06815-JKG Document 90 Filed 03/30/12 Page 32 of 56



           Officer Szalczyk asserts that a reasonable officer in

his position would have believed that issuing a detainer was

lawful under the circumstances.      Because Officer Szalczyk has

conceded that probable cause is required before a lawful detainer

can issue, I take his assertion to mean that a reasonable officer

would have believed that there was probable cause to support the

issuance of an immigration detainer.

           Typically, the existence of probable cause is a

question of fact which the jury will decide in a § 1983 or Bivens

action.   Collins v. Christie, 337 Fed.Appx. 188, 193 (3d Cir.

2009)(citing Montgomery v. De Simone, 159 F.3d 120, 124 (3d Cir.

1998)).   However, “a district court may conclude that probable

cause exists as a matter of law if the evidence, viewed most

favorably to Plaintiff, reasonably would not support a contrary

factual finding and enter summary judgment.”        Id. (quoting Merkle

v. Upper Dublin School District, 211 F.3d 782, 788789 (3d Cir.

2000)).

           Plaintiff’s formulation of the requisite probable cause

notwithstanding, the requirements for the issuance of an

immigration detainer differ from the requirements for an alien to

be deportable.

           The statute establishing the various “[c]lasses of

deportable aliens” provides, in pertinent part, that

                 [a]ny alien who at any time after admission has
                 been convicted of a violation of (or a conspiracy

                                  -32-
     Case 5:10-cv-06815-JKG Document 90 Filed 03/30/12 Page 33 of 56



                  or attempt to violate) any law or regulation of a
                  State, the United States, or a foreign country
                  relating to a controlled substance (as defined in
                  section 802 of Title 21), other than a single
                  offense involving possession for one's own use of
                  30 grams or less of marijuana, is deportable.

8 U.S.C. § 1227(a)(2)(B)(I)(emphasis added).

          Although Detective Correa and Officer Szalczyk acted

after plaintiff was arrested and charged with conspiracy to

violate the laws of the Commonwealth of Pennsylvania regulating

controlled substances, nothing in the Amended Complaint suggest

that he had been convicted of any such crime.        Moreover, none of

defendants’ motions to dismiss or supporting documentation

suggest any reason beyond plaintiff’s arrest on November 20, 2008

which would support probable cause to believe that he was

deportable.

          Based on the facts alleged in the Amended Complaint,

and upon the fact that a criminal defendant is presumed innocent

until proven guilty, and the fact that a criminal arrest provides

no evidence of guilt, I cannot conclude that Detective Correa or

Officer Szalczyk had probable cause to believe that Mr. Galarza

was deportable, or that any reasonable officer would have

believed that probable cause existed to believe that Mr. Galarza

was deportable.

          While it is clear that facts pled in the Amended

Complaint would not provide probable cause to believe that

Mr. Galarza was deportable, the question remains whether or not

                                  -33-
     Case 5:10-cv-06815-JKG Document 90 Filed 03/30/12 Page 34 of 56



probable cause existed to support the issuance of an immigration

detainer.

            The statute establishing the “[p]owers of immigration

officers and employees” provides for and regulates the

“[d]etainer of aliens for violation of controlled substance

laws”.   8 U.S.C. § 1357(d).    It provides that

                 [i]n the case of an alien who is arrested by a
                 Federal, State, or local law enforcement official
                 for a violation of any law relating to controlled
                 substances, if the official (or another
                 official)--

                      (1) has reason to believe that the alien may
                      not have been lawfully admitted to the United
                      States or otherwise is not lawfully present
                      in the United States,

                      (2) expeditiously informs an appropriate
                      officer or employee of the Service authorized
                      and designated by the Attorney General of the
                      arrest and of facts concerning the status of
                      the alien, and

                      (3) requests the Service to determine
                      promptly whether or not to issue a detainer
                      to detain the alien,

                 the officer or employee of the Service shall
                 promptly determine whether or not to issue such a
                 detainer. If such a detainer is issued and the
                 alien is not otherwise detained by Federal, State,
                 or local officials, the Attorney General shall
                 effectively and expeditiously take custody of the
                 alien.

8 U.S.C. § 1357(d)(emphasis added).




                                  -34-
     Case 5:10-cv-06815-JKG Document 90 Filed 03/30/12 Page 35 of 56



           The phrase “reason to believe” in § 1357(d)(1) has been

construed to require probable cause.      United States v. Quintana,

623 F.3d 1237, 1239 (8th Cir. 2010)(citing cases).

           Therefore, in order to issue a detainer pursuant to

§ 1357, there must be probable cause to believe that the subject

of the detainer is (1) an “alien” who (2) “may not have been

lawfully admitted to the United States” or (3) “otherwise is not

lawfully present in the United States”.       8 U.S.C. § 1357(d)(1)

(emphasis added).

           Because it is clear that Mr. Galarza was arrested for

allegedly violating Pennsylvania’s controlled-substance laws, the

key inquiry with respect to the assertion of qualified immunity

by Detective Correa and Officer Szalczyk is whether the infor-

mation possessed by Detective Correa and Officer Szalczyk

provided probable cause to believe that Mr. Galarza was (1) an

“alien” who (2) “may not have been lawfully admitted to the

United States” or (3) “otherwise is not lawfully present in the

United States”, 8 U.S.C. § 1357(d)(1).       See Couden, 446 F.3d at

492; 8 U.S.C. § 1357.

           The facts and circumstances, as alleged in the Amended

Complaint and relevant to the question of probable cause, are as

follows.   The contractor who was supervising the construction

site where Mr. Galarza was working on Thursday, November 28, 2008

was selling cocaine at the site.      At approximately 2:30 p.m., the


                                  -35-
       Case 5:10-cv-06815-JKG Document 90 Filed 03/30/12 Page 36 of 56



contractor -- Juan Santilme -- sold cocaine to Detective Correa,

who was working under cover.        Mr. Santilme, Luis Aponte-

Maldonado, Juan Cruz, and plaintiff Ernesto Galarza were arrested

for allegedly conspiring to distribute cocaine in violation of

Pennsylvania law.70

            All four arrestees are Hispanic.        Mr. Cruz is a citizen

of Honduras.    Mr. Santilme is a citizen of the Dominican

Republic.    Mr. Aponte-Maldonado is also a citizen of the

Dominican Republic, but after his arrest he told Detective Correa

that he was a United States citizen born in Puerto Rico.             Plain-

tiff is a Hispanic man of Puerto Rican heritage who was born in

Perth Amboy, New Jersey and is a natural-born United States

Citizen.    Plaintiff speaks English and Spanish.71

            The fact that Mr. Galarza is Hispanic and was working

at a construction site with three other Hispanic men -- two of

whom are citizens of foreign countries and another who claimed to

have been born in Puerto Rico but is a citizen of the Dominican

Republic -- does not amount to probable cause to believe that Mr.

Galarza is an alien not lawfully present in the United States.


      70
            Amended Complaint at ¶¶ 28-31.

      71
            Id. at ¶¶ 25-27, 32-36. In his reply brief, Officer Szalczyk
treats plaintiff’s averment that Detective Correa’s “gave the ICE agent to
whom she spoke reason to believe that she suspected all four arrestees of
being foreign nationals” as the equivalent of an admission by plaintiff that
Officer Szalczyk had probable cause to support the immigration detainer.
(Szalczyk Reply Brief at page 2 (quoting Amended Complaint at ¶ 51).) That
interpretation offered by Officer Szalczyk would be both inconsistent with the
facts pled and claims asserted by plaintiff, and a legal conclusion, which I
am not required to treat as true for purposes of a motion to dismiss.

                                    -36-
      Case 5:10-cv-06815-JKG Document 90 Filed 03/30/12 Page 37 of 56



           Moreover, the additional facts available to Detective

Correa and Officer Szalczyk provide no further assistance.              I

recognize that false identity documents can be obtained and that

none of the documents in Mr. Galarza’s possession alone or

together definitively establish United States citizenship.

           However, Mr. Galarza’s possession of his driver’s

license, Social Security card, debit card, and health insurance

card72 suggest United States citizenship at least as strongly as

they suggest foreign citizenship.         Therefore, upon the facts

plead in the Amended Complaint, I conclude that Detective Correa

and Officer Szalczyk lacked probable cause to support the

issuance of an immigration detainer pursuant to 8 U.S.C. § 1357.

  Qualified Immunity -- Officer Szalczyk and Detective Correa

           Plaintiff contends that Officer Szalczyk is not

entitled to qualified immunity because “[n]o reasonable officer

would have believed it lawful to cause Mr. Galarza’s detention by

issuing a detainer without probable cause.”73         Similarly,

plaintiff contends that Detective Correa is not entitled to

qualified immunity because her alleged conduct violated

plaintiff’s “clearly established right[] not to be detained

without probable cause”.74


     72
           Amended Complaint at ¶ 39.

     73
           Memorandum Opposing Szalczyk at page 22.

     74
           Memorandum Opposing Allentown and Correa at page 14.

                                   -37-
      Case 5:10-cv-06815-JKG Document 90 Filed 03/30/12 Page 38 of 56



           The United States Supreme Court has “repeatedly told

courts...not to define clearly established law at a high level of

generality.”   Ashcroft v. al-Kidd,          U.S.     ,     ,

131 S.Ct. 2074, 2084, 179 L.Ed.2d 1149, 1159-1160 (U.S. 2011).

The Court specifically noted that “[t]he general proposition, for

example, that an unreasonable search and seizure violates the

Fourth Amendment is of little help in determining whether the

violative nature of particular conduct is clearly established.”

Id. 131 S.Ct. at 2084, 179 L.Ed.2d at 1160 (italics in original).

           Here, plaintiff’s assertion that detaining Mr. Galarza

pursuant to an immigration detainer without probable cause is

constitutionally unsound -- which none of the defendants dispute

-- provides little more guidance than the proposition used by the

United States Supreme Court in the above example.

           A precedential decision directly on point is not

required for the contours of a right to be “sufficiently clear

that every reasonable official would have understood that what he

[was] doing violat[ed] that right.”       al-Kidd,        U.S. at       ,

131   S.Ct. at 2083, 179 L.Ed.2d at 1159 (quoting Anderson v.

Creighton, 483 U.S. 635, 640, 107 S.Ct. 3034, 97 L.Ed.2d 523

(1987)(internal quotations omitted))(emphasis added).

           Nonetheless, “existing precedent must have placed the

statutory or constitutional question beyond doubt.”          Id. (citing

Anderson, supra; Malley v. Briggs, 475 U.S. 335, 341, 106 S. Ct.


                                   -38-
      Case 5:10-cv-06815-JKG Document 90 Filed 03/30/12 Page 39 of 56



1092, 89 L. Ed. 2d 271 (1986)).        Qualified immunity provides

government officials “breathing room to make reasonable but

mistaken judgments about open legal questions” and when “properly

applied, it protects ‘all but the plainly incompetent or those

who knowingly violate the law.’”        al-Kidd,        U.S. at      ,

131 S.Ct. at 2083, 179 L.Ed.2d at 1159 (quoting Malley, 475 U.S.

at 341, 106 S.Ct. at 1096, 89 L.Ed.2d at 279).

            Accordingly, unless “every reasonable official would

have understood” that the information possessed by Detective

Correa and Officer Szalczyk, viewed in the totality of the

circumstances, did not provide probable cause75 to believe

Mr. Galarza was (1) an “alien” who (2) “may not have been

lawfully admitted to the United States” or (3) “otherwise is not

lawfully present in the United States”, 8 U.S.C. § 1357(d)(1),

then Detective Correa and Officer Szalczyk are entitled to

qualified immunity.      See al-Kidd,        U.S. at      , 131 S.Ct.

at 2083, 179 L.Ed.2d at 1159.

            As noted above, I conclude that the facts plead in the

Amended Complaint did not provide probable cause to believe that

plaintiff was an alien properly subject to a detainer under

      75
            “Probable cause exists where the facts and circumstances within
[an officer's] knowledge and of which [he] had reasonably trustworthy
information [are] sufficient in themselves to warrant a man of reasonable
caution in the belief that”, Safford Unified School District No. 1 v. Redding,
557 U.S. 364,    , 129 S.Ct. 2633, 2639, 174 L.Ed.2d 354, 361 (2009)
(alterations in original and internal quotations omitted), Mr. Galarza was
(1) an “alien” who (2) “may not have been lawfully admitted to the United
States” or (3) “otherwise is not lawfully present in the United States”.
8 U.S.C. § 1357(d)(1).

                                    -39-
      Case 5:10-cv-06815-JKG Document 90 Filed 03/30/12 Page 40 of 56



§ 1357.    Moreover, I cannot conclude based upon these facts that

a reasonable officer would have concluded that probable cause

existed.   Therefore, I deny Detective Correa and Officer

Szalczyk’s assertion of qualified immunity as grounds for

dismissal of plaintiff’s Fourth Amendment claims without

prejudice for Detective Correa and Officer Szalczyk to raise the

defense of qualified immunity after the record is developed

during discovery.

    Equal Protection –- Detective Correa and Officer Szalczyk

           The Amended Complaint alleges that Detective Correa and

Officer Szalczyk violated plaintiff’s Federal constitutional

right to equal protection of law pursuant to the Fifth and

Fourteenth Amendments to the United States Constitution.76

            Racial profiling, or selective enforcement of the law,

is a violation of the Equal Protection Clause.         Sow v. Fortville

Police Deptartment, 636 F.3d 293, 303 (7th Cir. 2011).           In order

to state an equal protection claim “in the racial profiling

context”, a plaintiff must allege and provide sufficient factual

averments to support a reasonable inference that the challenged

conduct or action (1) had a “discriminatory effect”, and (2) was

motivated by a discriminatory purpose”         Carrasca v. Pomeroy,

313 F.3d 828, 834 (3d Cir. 2002)(citing Bradley v. United States,

299 F.3d 197, 205 (3d Cir. 2002)).


     76
           See Amended Complaint, Counts I and V.

                                   -40-
      Case 5:10-cv-06815-JKG Document 90 Filed 03/30/12 Page 41 of 56



            To establish discriminatory effect, a plaintiff must

allege and provide factual averments supporting a reasonable

inference that he is a member of a protected class and “similarly

situated” persons in an unprotected class were treated

differently.    Bradley, 299 F.3d at 206.

            The parties do not dispute that Mr. Galarza, who is

Hispanic, is a member of a constitutionally protected class.

Thus, with respect to the first element of his equal protection

claims against Detective Correa and Officer Szalczyk, the key

question is whether Mr. Galarza has sufficiently pled that

similarly situated persons outside of the protected class were

treated differently.      See id.

            Plaintiff is not required to identify in the Complaint

specific instances where others have been treated differently.

Phillips v. County of Allegheny, 515 F.3d 224, 245 (3d Cir.

2008).    Rather, a general allegation that plaintiff has been

treated differently from others similarly situated will suffice.

Id. at 244.

            Here, plaintiff avers that “[Detective] Correa does not

report to ICE about Caucausians arrested with other people whom

she believes to be foreign nationals”.77       Moreover, plaintiff

avers that “[h]ad [Officer] Szalczyk known or believed [Mr. Ga-

larza] to be Caucasian, [Officer] Szalczyk would not have issued


     77
            Amended Complaint at ¶ 53.

                                    -41-
      Case 5:10-cv-06815-JKG Document 90 Filed 03/30/12 Page 42 of 56



the immigration detainer [against Mr. Galarza] without at least

checking the available identifying information” to assess Mr.

Galarza’s citizenship.78

           In short, taking these factual averments as true,

plaintiff’s Amended Complaint supports a reasonable inference

that Detective Correa and Officer Szalczyk would have treated

plaintiff differently if plaintiff were not Hispanic.          Therefore,

I conclude that the first element of plaintiff’s equal protection

claim is satisfied as to Detective Correa and Officer Szalczyk.

           Next, I must determine whether plaintiff has

sufficiently pled that Detective Correa and Officer Szalczyk

acted with a discriminatory purpose.       See Carrasca, 313 F.3d

at 834 (citing Bradley, 299 F.3d at 205).

           The United State Supreme Court has stated that a

plaintiff asserting an equal protection claim “must plead...that

the defendant acted with a discriminatory purpose.”          Iqbal,

556 U.S. at      , 129 S.Ct. at 1948, 173 L.Ed.2d at 883.         The

Supreme Court went on to explain that in order to state an equal

protection claim “based upon a violation of a clearly established

right”, a plaintiff must plead sufficient factual matter to

permit a reasonable inference that the government-official

defendant acted “for the purpose of discriminating on account of




     78
           Amended Complaint at ¶ 63.

                                   -42-
      Case 5:10-cv-06815-JKG Document 90 Filed 03/30/12 Page 43 of 56



race”, ethnicity or national origin.       Iqbal, 556 U.S. at           ,

129 S.Ct. at 1949, 173 L.Ed.2d at 889.

           Here, plaintiff alleges that Detective Correa

“knew...that plaintiff was a [United States] citizen”79 when she

called ICE and informed either Officer Szalczyk or Officer Marino

that Mr. Galarza was arrested with three other Hispanic men and

“gave the ICE agent to whom she spoke reason to believe that she

suspected all four arrestees [-- including plaintiff --] of being

foreign nationals or of having given false information about

their identities.”80

           Plaintiff avers that Detective Correa reported

plaintiff to ICE as someone she suspected of being a foreign

national “even though she knew...that Plaintiff was a U.S.

citizen”.81

           Plaintiff does not go so far as to allege that Officer

Szalczyk knew that plaintiff was a United States citizen.

Rather, plaintiff avers that Officer Szalczyk had information in

his possession (plaintiff’s correct name, date and place of

birth, ethnicity and social security number) which would have




     79
           Amended Complaint at ¶ 38.

     80
           Id. at ¶ 51.

     81
           Id. at ¶ 51.

                                   -43-
      Case 5:10-cv-06815-JKG Document 90 Filed 03/30/12 Page 44 of 56



permitted Officer Szalczyk to verify plaintiff’s United States

citizenship before issuing the immigration detainer.82

           Plaintiff further avers that Officer Szalczyk made a

decision not to utilize this information to verify plaintiff’s

citizenship because plaintiff has “a Hispanic name” and “was

arrested in the company of three other Hispanic men who did not

appear to be citizens.”83     In short, plaintiff avers that Officer

Szalczyk “took his actions in issuing an immigration

detainer...and stating that plaintiff was from the Dominican

Republic...and in failing to verify” plaintiff’s citizenship

because of plaintiff’s Hispanic ethnicity.84

           Based on these averments concerning Detective Correa

and Officer Szalczyk, and drawing all reasonable inferences in

plaintiff’s favor, as I am required to do, I conclude that

plaintiff’s Amended Complaint supports a reasonable inference

that (1) Detective Correa acted with a discriminatory purpose

when she telephoned ICE and reported plaintiff to Officer Marino

or Officer Szalczyk, and (2) Officer Szalczyk acted with a

discriminatory purpose in deciding not to verify plaintiff’s

citizenship based up the information provided Detective Correa




     82
           Amended Complaint at ¶¶ 50, 57-58.

     83
           Id. at ¶ 58.

     84
           Id. at ¶ 63.

                                   -44-
      Case 5:10-cv-06815-JKG Document 90 Filed 03/30/12 Page 45 of 56



and issuing an immigration detainer against plaintiff “because of

Plaintiff’s ethnicity”.85

            Furthermore, to the extent that Detective Correa and

Officer Szalczyk seek to dismiss plaintiff’s equal protection

claims against each of them on the grounds of qualified immunity,

I deny those motions because it would be clear to a reasonable

officer that such allegedly-intentional racially-discriminatory

conduct was unlawful.      See Couden, 446 F.3d at 492.

             Procedural Due Process -- Officer Szalczyk

            Plaintiff’s Amended Complaint alleges that Officer

Szalczyk violated plaintiff’s right to procedural due process.86

Specifically, Mr. Galarza alleges that by issuing the immigration

detainer against him, Officer Szalczyk deprived him of his

liberty without constitutionally-sufficient notice and an

opportunity to be heard.

            The procedural aspect of the Due Process Clause

guarantees the availability of certain procedural mechanisms,

typically the right to notice and a hearing, before a government

actor can deprive an individual of a liberty or property

interest.    Rogers v. United States, 696 F.Supp.2d 472, 500

(W.D.Pa. 2010).     In order to establish a procedural due process

violation, a plaintiff must demonstrate that he has been deprived


     85
            Amended Complaint at ¶ 63.

     86
            Id., Counts III and VI.

                                      -45-
     Case 5:10-cv-06815-JKG Document 90 Filed 03/30/12 Page 46 of 56



of a constitutionally-protected property or liberty interest.

Daniels v. Williams, 474 U.S. 327, 339, 106 S.Ct. 662, 88 L.Ed.2d

662 (1986).

            Here, as discussed above, the Amended Complaint alleges

that the immigration detainer issued by Officer Szalczyk

prevented plaintiff’s release.     Thus, the immigration detainer

deprived plaintiff of his liberty.

            However, I will dismiss plaintiff’s procedural due

process claim against Officer Szalczyk based upon qualified

immunity.

            The regulation promulgated by the United States

Department of Homeland Security governing the temporary detention

of aliens at the Department’s request provides as follows:

                 Upon a determination by the Department to issue a
                 detainer for an alien not otherwise detained by a
                 criminal justice agency, such agency shall main-
                 tain custody of the alien for a period not to
                 exceed 48 hours, excluding Saturdays, Sundays, and
                 holidays in order to permit assumption of custody
                 by the Department.

8 C.F.R. § 287.7(d).

            Because the Department’s regulation expressly provides

that an alien subject to an immigration detainer shall be held

for “a period not to exceed 48 hours, excluding Saturdays,

Sundays, and holidays”, I conclude that even if the period of

detention specified by the regulation were found to be

unconstitutional, it would not be clear to every reasonable


                                  -46-
     Case 5:10-cv-06815-JKG Document 90 Filed 03/30/12 Page 47 of 56



officer that the detention for a period expressly provided by

federal regulation was unlawful.      Therefore, Officer Szalczyk is

entitled to qualified immunity from plaintiff’s procedural due

process claim against him.

                          Municipal Liability

          Because municipalities are not subject to respondeat

superior liability, municipal liability “must be founded upon

evidence that the government unit itself supported a violation of

constitutional rights.”    Bielevicz v. Dubinon, 915 F.2d 845, 850

(3d Cir. 1990).

          Accordingly, in a civil rights action against a

municipality pursuant to § 1983, “the municipality can only be

liable when the alleged constitutional transgression implements

or executes a policy, regulation, or decision officially adopted

by the governing body or informally adopted by custom.”          Beck v.

City of Pittsburgh, 89 F.3d 966, 971 (3d Cir. 1996)(citing Monell

v. City of New York Department of Social Services, 436 U.S. 658,

98 S.Ct. 2018, 56 L.Ed.2d 611 (1978)).

          The municipal policy or custom must be the “moving

force” behind the constitutional violation such that there is a

direct link between the municipal policy or custom and the

deprivation of constitutional rights.       Sullivan v. Warminster

Township, 765 F.Supp.2d 687, 703 (E.D.Pa. 2011)(Surrick,J.)

(quoting Board of County Commissioners of Bryan County, Oklahoma


                                  -47-
       Case 5:10-cv-06815-JKG Document 90 Filed 03/30/12 Page 48 of 56



v. Brown, 520 U.S. 397, 404, 117 S.Ct. 1382, 1388, 137 L.Ed.2d

626, 639 (1997).     In short, where a municipality’s

unconstitutional policy or custom is the moving force behind a

violation of a plaintiff’s rights, the municipality can be held

liable for the violation pursuant to § 1983 and Monell.

            Here, neither of the policies identified in plaintiff’s

Amended Complaint is unconstitutional.          Indeed, both are

consistent with federal statutes and regulations.

                               Lehigh County

            The only policy or custom which plaintiff attributes to

defendant Lehigh County is the policy of detaining any person

being held in Lehigh County Prison who is named in an immigration

detainer.87   This policy is consistent with the regulations

promulgated by the United States Department of Homeland Security

governing immigration detainers.

            Homeland Security regulations provide:

                  (a) Detainers in general. Detainers are issued
                  pursuant to sections 236 and 287 of the Act and
                  this chapter 1. Any authorized immigration officer
                  may at any time issue a Form I–247, Immigration
                  Detainer–Notice of Action, to any other Federal,
                  State, or local law enforcement agency. A detainer
                  serves to advise another law enforcement agency
                  that the Department seeks custody of an alien
                  presently in the custody of that agency, for the
                  purpose of arresting and removing the alien. The
                  detainer is a request that such agency advise the
                  Department, prior to release of the alien, in


      87
            See Amended Complaint at ¶¶ 71, 90-91; Plaintiff’s Memorandum
Opposing Motion of Lehigh County at pages 2, 12.

                                    -48-
     Case 5:10-cv-06815-JKG Document 90 Filed 03/30/12 Page 49 of 56



                  order for the Department to arrange to assume
                  custody, in situations when gaining immediate
                  physical custody is either impracticable or
                  impossible....

                  (d) Temporary detention at Department request.
                  Upon a determination by the Department to issue a
                  detainer for an alien not otherwise detained by a
                  criminal justice agency, such agency shall
                  maintain custody of the alien for a period not to
                  exceed 48 hours, excluding Saturdays, Sundays, and
                  holidays in order to permit assumption of custody
                  by the Department.


8 C.F.R. § 287.7(a) and (d).

            Thus, although an immigration detainer “serves to

advise another law enforcement agency that the Department seeks

custody” and “is a request” to the federal, state, or local law

enforcement agency presently holding the individual named in the

detainer that it “advise the Department, prior to release” of

that individual, id. § 287.7(a), once the immigration detainer is

issued, the local, state, or federal agency then holding the

individual “shall” maintain custody.      Id. § 287.7(d).     Moreover,

although the period of time that the agency with custody when the

immigration detainer is issued is required to hold the individual

is 48 hours, those 48 hours excludes Saturdays, Sundays, and

holidays.    Therefore, I grant Lehigh County’s motion and dismiss

plaintiff’s procedural due process claim against it.

            Plaintiff does not allege that it is Lehigh County’s

policy to detain persons named in immigration detainers without

probable casue.    Plaintiff does not allege that it is Lehigh

                                  -49-
     Case 5:10-cv-06815-JKG Document 90 Filed 03/30/12 Page 50 of 56



County’s policy to detain only persons of a certain race or

ethnicity who are named in an immigration detainer.         Plaintiff

does not allege that it is Lehigh County’s policy to detain

persons named in immigration detainers for longer periods of time

than permitted by federal DHS regulations.       For these reasons, I

grant Lehigh County’s motion and dismiss plaintiff’s Fourth

Amendment, equal protection, and procedural due process claims

against the County.

            In any event, Lehigh County did not maintain custody of

plaintiff for more than the 48 hours it was required to do so.

Pursuant to the Department of Homeland Security Regulation

287.7(d), quoted above, because ICE isued a detainer for

plaintiff, the Lehigh County Prison (a “criminal justice agency”)

was required to maintain custody of him after he was “not

otherwise detained by a criminal justice agency” for a period not

to exceed 48 hours, excluding Saturdays and Sundays, in order to

permit assumption of his custody by the Department of Homeland

Security.

            Plaintiff was incarcerated on the state drug charge at

approximately 8:00 p.m. on Thursday, November 20, 2008.          Bail was

set in the amount of $15,000 at 10:15 p.m. on Thursday night.

Bail was posted on plaintiff’s behalf the next day, Friday,

November 21.   (The time when bail was posted does not appear in

the Amended Complaint.)    Plaintiff’s immigration detainer was


                                  -50-
      Case 5:10-cv-06815-JKG Document 90 Filed 03/30/12 Page 51 of 56



lifted by ICE at 2:05 p.m. Monday, November 24, and he was

released from Lehigh County Prison on Monday at 8:28 p.m.88

           Plaintiff became a person “not otherwise detained by a

criminal justice agency” when his bail was posted.

Theoretically, that could have occurred anytime during the 24

hour period from the beginning of Friday at midnight until the

beginning of Saturday at midnight.        Assuming plaintiff’s bail was

posted at the earliest moment on Friday (one minute after

midnight or 12:01 a.m. Friday), the prison was required to hold

him in custody until the end of Monday, November 24 (11:59 p.m.

Monday, or one minute before midnight Tuesday.          In other words,

the prison was required to hold plaintiff for 24 hours Friday

plus 24 hours Monday, which equals the 48 hours total (Saturdays

and Sundays are excluded) to give ICE the opportunity to take him

into their custody.

           When ICE lifted its detainer at 2:05 p.m. Monday, 38

hours of the 48 hour period had expired (24 hours on Friday plus

14 hours on Monday) under my example.        When plaintiff was

actually released from prison at 8:28 p.m. on Monday, 44 ½ hours

of the 48 hour period had expired (24 hours on Friday plus 20 ½

hours on Monday).    Either way, plaintiff was released before the

expiration of the 48 hour period that the prison was required to

hold him to give ICE an opportunity to pick him up.


     88
           Amended Complaint at ¶¶ 40-41, 59-60, 67-70 and 82-83.

                                   -51-
       Case 5:10-cv-06815-JKG Document 90 Filed 03/30/12 Page 52 of 56



                            City of Allentown

            Concerning the City of Allentown, plaintiff avers that

it is the policy of the City for the Allentown Police Department

and its officers to “actively work with ICE to identify criminal

aliens who have committed criminal offenses within the City of

Allentown and to take appropriate steps for deportation where

warranted”,89 and that the City of Allentown’s “practice of

aggressive pursuit of criminal alien detention...led to

Plaintiff’s imprisonment on a false immigration detainer.”90

            As the City notes in its memorandum in support of its

motion to dismiss, its policy of active cooperation with ICE is

authorized by various federal statutory provisions.91            Most

notably, 8 U.S.C § 1103(c) expressly permits cooperative

agreements between federal immigration officials and State and

local law enforcement agencies “for the purpose of assisting in

the enforcement of the immigration laws.”

            Plaintiff seeks to hold defendant City of Allentown

liable for the alleged deprivation of his Fourth Amendment and

equal protection rights.       However, the policy upon which he seeks

to establish municipal liability is not itself discriminatory.

Like Lehigh County’s policy of enforcing all immigration


      89
            Amended Complaint at ¶ 13, Exhibit .

      90
            Id. at ¶ 21.

      91
            Memorandum of Allentown and Correa at page 19 (citing 8 U.S.C.
§§ 1324(c), 1357(g), 1103(c), and § 1252c).

                                    -52-
      Case 5:10-cv-06815-JKG Document 90 Filed 03/30/12 Page 53 of 56



detainers regardless of the race of the individual named in the

detainer, the policy that plaintiff attributes to the City is one

of consistent, active cooperation to identify aliens who may be

subject to detention and removal.

           In other words, the Amended Complaint does not allege

that the City’s policy of cooperation applies only to suspected

aliens who are Hispanic.      Moreover, plaintiff does not allege

that it is the City’s policy for APD officers to fabricate

information and report it to ICE in order to cause the issuance

of immigration detainers.

           Plaintiff also seeks to establish municipal liability

against the City based on the City’s alleged failure to train its

police officers.    Specifically, plaintiff avers that despite the

“regular collaboration between [APD] officers and ICE, the City

of Allentown has never supplied any training or arranged for its

officers to receive training from any other source, about

investigating immigration status, when to provide information to

ICE, or what information to provide.”92

           The United States Court of Appeals for the Third

Circuit has stated that “[e]stablishing municipal liability on a

failure to train claim under § 1983 is difficult.”          Reitz v.

County of Bucks, 125 F.3d 139, 145 (3d Cir.1997). Generally,

deficient training can only amount to the requisite deliberate


     92
           Amended Complaint at ¶ 13.

                                   -53-
     Case 5:10-cv-06815-JKG Document 90 Filed 03/30/12 Page 54 of 56



indifference “where the failure to train has caused a pattern of

violations.”    Berg v. County of Allegheny, 219 F.3d 261, 276 (3d

Cir. 2000).    Here, plaintiff has not pled facts alleging a

pattern of violations, but instead seeks to proceed on a single-

violation failure-to-train claim.

           Absent a pattern of violaitions, the plaintiff must

allege sufficient facts that the case at bar falls within that

“narrow range of circumstances” in which “a violation of federal

rights may be a highly predictable consequence of a failure to

equip law enforcement officers with specific tools to handle

recurring situations.”    Montgomery v. De Simone, 159 F.3d 120,

127 (3d Cir. 1998).

           Accordingly, plaintiff must demonstrate that in light

of the duties assigned to the officers, “the need for more or

different training is so obvious, and the inadequacy [of the

officers' training is] so likely to result in the violation of

constitutional rights, that the policymakers of the city can

reasonably be said to have been deliberately indifferent to the

need.”   Sullivan, 765 F.Supp.2d at 703-704 (quoting City of

Canton, Ohio v. Harris, 489 U.S. 378, 396, 109 S.Ct. 1197,

103 L.Ed.2d 412 (1989).

           Here, the alleged policy pursuant to which APD officers

alert ICE to individuals who may be aliens subject to detention

and removal so that ICE is aware of the individual and, thus, can


                                  -54-
        Case 5:10-cv-06815-JKG Document 90 Filed 03/30/12 Page 55 of 56



determine whether or not to issue a detainer, does not make the

need for more or different training “so obvious” that the policy

can be said to constitute the City’s deliberate indifference to

the Fourth Amendment and equal protection rights of Mr. Galarza.

Accordingly, I grant the City’s motion and dismiss plaintiff’s

Fourth Amendment and equal protection claims against the City.

                                 CONCLUSION

             For the reasons expressed above, Defendant Mark

Szalczyk's Motion to Dismiss the Amended Complaint is granted in

part.    Plaintiff's procedural due process claim against defendant

Mark Szalczyk is dismissed from the First Amended Complaint.

However, Defendant Mark Szalczyk's Motion to Dismiss the Amended

Complaint is denied to the extent that it seeks to dismiss

plaintiff's Fourth Amendment and equal protection claims against

defendant Mark Szalczyk.

             Additionally, Defendant Gregory Marino's Motion to

Dismiss the Amended Complaint is granted, and plaintiff's claims

against defendant Gregory Marino are dismissed from the First

Amended Complaint.

             Next, Defendants, City of Allentown and Christie

Correa's Motion to Dismiss Plaintiff's Amended Complaint Pursuant

to Fed.R.Civ.P. 12(b)(6) is granted in part.           Plaintiff's

procedural due process claim against defendant Christie Correa

and all claims against defendant City of Allentown are dismissed


                                     -55-
     Case 5:10-cv-06815-JKG Document 90 Filed 03/30/12 Page 56 of 56



from the First Amended Complaint.        However, the Allentown/Correa

Motion is denied to the extent that it seeks to dismiss

plaintiff's Fourth Amendment and equal protection claims against

defendant Christie Correa.

          Finally, Defendant Lehigh County's Motion to Dismiss

the First Amended Complaint Under F.R.C.P. 12(b)(6) is granted,

and plaintiff's claims against Lehigh County are dismissed from

the First Amended Complaint.




                                  -56-
